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 2
                                  UNITED STATES DISTRICT COURT
 3                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION
 4
     ALENA KRILEY,                                             Case No.: 1:22-cv-04832
 5
                        Plaintiff,
 6

     vs.                                                       PLAINTIFF’S MOTION FOR PAYMENT
 7
                                                               OF SUMMARY JUDGMENT AND TRIAL
 8   PAUL KRILEY                                               TRANSCRIPT
                                                               JUDGE: HON. MARTHA M. PACOLD
 9                      Defendant.                             MAGISTRATE: JEFFREY COLE
10

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12     PLAINTIFF’S MOTION FOR PAYMENT OF SUMMARY JUDGMENT AND TRIAL
                                 TRANSCRIPT
13

14          Pursuant to 28 U.S. Code § 1915 - Proceedings in forma pauperis, Plaintiff, seeks payment of

15   the summary judgment and trial transcript to the court reporter and states:
            1. Plaintiff was previously approved to file this cause of action without costs as in forma pauperis
16
     [7].
17
            2. Plaintiff’s financial position and ability to pay costs, including court reporter transcript fees,
18
     is unchanged from the previous date of her application and approval as in forma pauperis.
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            3. That previously the Court extensively orally ruled on Plaintiff’s Motion for Summary Judg-
20   ment [86] and such transcript is essential for proceeding to trial which is scheduled for April 7, 2025
21   and April 8, 2025.
22          4. That a two-day trial has been scheduled for this cause and a daily or more frequent transcript
23   is requested to be approved by this Court under the same circumstances and reasons as cited above.

24          5. That if plaintiff is successful in the cause, attorney fees and costs can be awarded to Plaintiff
     and any transcript cost disbursed can be recovered with a judgment for such costs awarded to the
25
     United States.
26
            WHEREFORE, Plaintiff, by her attorney Scott T. Ferrill, requests this Honorable Court to ap-
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     prove payment to the court reporter for the transcript of the aforementioned summary judgment
28                                                         1
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 1   ruling and for daily or more frequent trial transcripts, all on an expedited basis, and for such other
 2   and further relief as this Court deems just and equitable.
 3
                                                            ALENA KRILEY
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 5
                                                            BY: Scott T. Ferrill, her attorney
 6                                                                Scott T. Ferrill, Attorney

 7   Scott T. Ferrill
     Attorney for Plaintiff
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